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                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY


HARBORVIEW CAPITAL PARTNERS,
LLC,

      Plaintiff,                              Civ. No. 21-15146-KM-ESK

      v.                                                ORDER

CROSS RIVER BANK,

      Defendant.



      Before the Court is the motion (DE 21) of Defendant Cross River Bank
(“Cross River”) to dismiss the Complaint (DE 1) of Harborview Capital Partners,
LLC for failure to state a claim. The Court having considered the papers in
support and in opposition (DE 26; DE 30; DE 36; DE 37) and decided the
motion without oral argument; for the reasons stated in the Opinion filed on
this date, and for good cause shown;
      IT IS this 26th day of April, 2022
      ORDERED that the Cross River’s motion (DE 21) is GRANTED;
      This order is entered without prejudice to the submission within 30 days
of a properly supported motion to amend the complaint.


                                           /s/ Kevin McNulty
                                           _____________________________
                                           KEVIN MCNULTY
                                           United States District Judge
